
PER CURIAM.
Upon the State’s proper confession of error, we vacate the judgment of conviction and sentence as to Count Two: unlawful possession of a weapon during the commission of a felony. See Cleveland v. State, 587 So.2d 1145 (Fla.1991) (when conviction enhanced for use of firearm during commission of offense, prohibition against double jeopardy prohibits separate conviction and sentence for single act involving use of same firearm in commission of same crime); Pearson v. State, 603 So.2d 676 (Fla. 3d DCA 1992) (same).
Judgment' of conviction and sentence vacated as to Count Two, affirmed as to Count One; remanded for further proceedings consistent with this opinion.
